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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION                                       ENTERED
                                                                                     12/14/2018
   IN RE:                                        §
                                                 §
   KARIA Y WM HOUSTON, LTD.                      §   CASE NO. 18-30521-H1-11
                                                 §   (Chapter 11)
                 DEBTOR.                         §


                           FINAL DECREE CLOSING CASE

      The estate of the debtor Karia WM Houston, Ltd. has been fully administered.

THEREFORE, it is

      ORDERED that the chapter 11 case of Karia WM Houston, Ltd, the above named Debtor,

is CLOSED as of the date this Order is signed.

             Dated:
  Signed: December 14, 2018

                                                ____________________________________
                                                              Marvin Isgur
                                                    United States Bankruptcy Judge
                                  ____________________________________
                                  DAVID R. JONES
                                  CHIEF UNITED STATES BANKRUPTCY JUDGE
